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                             IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


In re:                                                                  Chapter 11

AMYRIS, INC., et al.,                                                   Case No. 23-11131 (TMH)

                                    Debtors. 1                          (Jointly Administered)


   NOTICE OF AGENDA FOR HEARING ON NOVEMBER 6, 2023 AT 10:00 A.M.
(PREVAILING EASTERN TIME2) BEFORE THE HONORABLE THOMAS M. HORAN
    IN THE U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE

 This hearing will be conducted in-person before the Honorable Thomas M. Horan, in the
United States Bankruptcy Court for the District of Delaware, 824 Market Street, 5th Floor,
   Courtroom #7. All parties, including witnesses, are expected to attend in person unless
permitted to appear via Zoom. Participation at the in-person court proceeding using Zoom
 is allowed only in the following circumstances: (i) a party who files a responsive pleading
intends to make only a limited argument; (ii) a party who has not submitted a pleading but
      is interested in observing the hearing; or (iii) other extenuating circumstances as
                                 determined by Judge Horan.
                  All participants over Zoom must register at the link below.
    https://debuscourts.zoomgov.com/meeting/register/vJItceqgrD4oEz_AmUXQC7fidR4dr5Ai_2Y

     RESOLVED MATTER

     1. Fourth Omnibus Motion for the Entry of an Order (A) Authorizing Rejection of Executory
        Contracts Effective as of the Applicable Rejection Date; and (B) Granting Related Relief
        [Filed October 20, 2023] (Docket No. 608).
         Response Deadline: October 27, 2023 at 4:00 p.m. (ET).

         Responses Received: None.

         Related Documents:

                  a.         Certificate of No Objection Regarding Debtors’ Fourth Omnibus Motion
                             for the Entry of an Order (A) Authorizing Rejection of Executory Contracts
                             Effective as of the Applicable Rejection Date; and (B) Granting Related
                             Relief [Filed October 30, 2023] (Docket No. 638).

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     A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
     claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
     place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
     Emeryville, CA 94608.
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     All motions and other pleadings referenced herein are available online at the following web address:
     https://cases.stretto.com/Amyris.


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                 b.          [Signed] Order (A) Authorizing Rejection of Executory Contracts
                             Effective as of the Applicable Rejection Date; and (B) Granting Related
                             Relief [Filed November 1, 2023] (Docket No. 652).

        Status: The order has been entered. No hearing will be necessary.

    CONTINUED MATTER

    2. Motion of Givaudan SA Pursuant to Bankruptcy Rule 2004 and Local Rule 2004-1 for an
       Order Directing the Production of Documents [Filed October 4, 2023] (Docket No. 448).

        Response Deadline: October 11, 2023 at 4:00 p.m. (ET).

        Responses Received:

                 a.          Statement in Connection with the Motion of Givaudan SA for an Order
                             Directing the Production of Documents [Filed October 11, 2023] (Docket
                             No. 515).

        Related Documents: None.

        Status: This matter has been continued to the hearing scheduled on November 21, 2023
        at 11:00 a.m. Eastern Time.

    MATTERS RESOLVED BY CNO/COC

    3. Request of DSM-Firmenich for Adequate Protection [Filed October 4, 2023] (Docket No.
       463).

        Response Deadline: November 1, 2023 at 4:00 p.m. (ET).

        Responses Received: Informal response by Debtors.

        Related Documents:

                 a.          Notice of Filing of Proposed Order Approving Stipulation Granting
                             Adequate Protection Relief to DSM-Firmenich AG [Filed October 25,
                             2023] (Docket No. 617).

                 b.          Certification of Counsel Regarding Proposed Order Approving Stipulation
                             Granting Adequate Protection Relief to DSM-Firmenich AG [Filed
                             November 1, 2023] (Docket No. TBF).

        Status: The movant will request entry of a revised proposed order attached to a
        certification of counsel. No hearing will be necessary unless the Court has any questions.

    4. Debtors’ Motion for Entry of an Order: (I) Extending the Deadline by Which the Debtors
       Must Assume or Reject Unexpired Leases of Nonresidential Real Property; and (II)
       Granting Related Relief [Filed October 17, 2023] (Docket No. 578).

        Response Deadline: October 31, 2023 at 4:00 p.m. (ET).
        Responses Received: Informal response by Committee.


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        Related Documents:

                 a.          Certification of Counsel Regarding Debtors’ Motion for Entry of an Order:
                             (I) Extending the Deadline by Which the Debtors Must Assume or Reject
                             Unexpired Leases of Nonresidential Real Property; and (II) Granting
                             Related Relief [Filed November 1, 2023] (Docket No. 661).

        Status: A revised proposed order has been filed under certification of counsel. The
        Debtors request entry of the revised proposed order attached to the certification of counsel.
        No hearing will be necessary unless the Court has any questions.

    5. Debtors’ Motion for Entry of Order (I) Further Extending the Deadline by Which the
       Debtors May Remove Certain Actions and (II) Granting Related Relief [Filed October 17,
       2023] (Docket No. 580).

        Response Deadline: October 31, 2023 at 4:00 p.m. (ET).
        Responses Received: Informal response by Committee.

        Related Documents:

                 a.          Certification of Counsel Regarding Debtors’ Motion for Entry of Order (I)
                             Further Extending the Deadline by Which the Debtors May Remove Certain
                             Actions and (II) Granting Related Relief [Filed November 1, 2023] (Docket
                             No. 662).

        Status: A revised proposed order has been filed under certification of counsel. The
        Debtors request entry of the revised proposed order attached to the certification of counsel.
        No hearing will be necessary unless the Court has any questions.

    MATTERS GOING FORWARD

    6. Motion of the Ad Hoc Noteholder Group for an Order Pursuant to Bankruptcy Rule 2004
       and Local Bankruptcy Rule 2004-1 Directing the Production of Documents by the Foris
       Lenders [Filed October 24, 2023] (Docket No. 614).

        Response Deadline: November 2, 2023 at 12:00 p.m. (ET).
        Responses Received:

                 a.          Objection of the Foris Lenders to the Motion of the Ad Hoc Noteholder
                             Group for an Order Pursuant to Bankruptcy Rule 2004 and Local
                             Bankruptcy Rule 2004-1 Directing the Production of Documents by the
                             Foris Lenders [Filed November 2, 2023] (Docket No. 664).

        Related Documents:

                 a.          The Ad Hoc Noteholder Group’s Motion for an Order Shortening the Notice
                             Period for its Rule 2004 Motion Directing the Production of Documents by
                             the Foris Lenders [Filed October 24, 2023] (Docket No. 615).




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                 b.          [SIGNED] Order Denying Ad Hoc Noteholder Group’s Motion for an
                             Order Shortening the Notice Period for its Rule 2004 Motion Directing the
                             Production of Documents by the Foris Lenders [Filed October 26, 2023]
                             (Docket No. 621).

                 c.          Notice of Motion of the Ad Hoc Noteholder Group for an Order Pursuant
                             to Bankruptcy Rule 2004 and Local Bankruptcy Rule 2004-1 Directing the
                             Production of Documents by the Foris Lenders [Filed October 30, 2023]
                             (Docket No. 631).

        Status: This matter will go forward.

    7. [REDACTED] Debtors’ Motion for the Entry of an Order (I) Authorizing Debtors to
       Execute Written Consent of the Board of Managers of Novvi LLC and (II) Granting
       Related Relief [Filed October 31, 2023] (Docket No. 641).

        Response Deadline: November 3, 2023 at 12:00 p.m. (ET).
        Responses Received: None as of the date hereof.

        Related Documents:

                 a.          [SEALED] Debtors’ Motion for the Entry of an Order (I) Authorizing
                             Debtors to Execute Written Consent of the Board of Managers of Novvi
                             LLC and (II) Granting Related Relief [Filed October 31, 2023] (Docket No.
                             642).

                 b.          Debtors’ Motion for Entry of an Order Authorizing Debtors to File Under
                             Seal Certain Information Related to the Debtors’ Motion for the Entry of an
                             Order (I) Authorizing Debtors to Execute Written Consent of the Board of
                             Managers of Novvi LLC and (II) Granting Related Relief [Filed October
                             31, 2023] (Docket No. 643).

                 c.          Motion to Shorten Notice Period and Schedule Hearing with Respect to the
                             Debtors’ Motion for the Entry of an Order (I) Authorizing Debtors to
                             Execute Written Consent of the Board of Managers of Novvi LLC and (II)
                             Granting Related Relief [Filed October 31, 2023] (Docket No. 644).
                 d.          [SIGNED] Order Shortening Notice Period and Scheduling Hearing with
                             Respect to the Debtors’ Motion for the Entry of an Order (I) Authorizing
                             Debtors to Execute Written Consent of the Board of Managers of Novvi
                             LLC and (II) Granting Related Relief [Filed October 31, 2023] (Docket No.
                             646).

                 e.          Notice of Hearing Regarding (A) Debtors’ Motion for the Entry of an Order
                             (I) Authorizing Debtors to Execute Written Consent of the Board of
                             Managers of Novvi LLC and (II) Granting Related Relief and (B) Debtors’
                             Motion for Entry of an Order Authorizing Debtors to File Under Seal
                             Certain Information Related to the Debtors’ Motion for the Entry of an
                             Order (I) Authorizing Debtors to Execute Written Consent of the Board of
                             Managers of Novvi LLC and (II) Granting Related Relief [Filed October
                             31, 2023] (Docket No. 648).

        Status: This matter will go forward.

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 Dated: November 2, 2023                  PACHULSKI STANG ZIEHL & JONES LLP

                                          /s/ James E. O’Neill
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